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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
OMAR SANTA-PEREZ, Case No. l:lS-cv-059
Plaintiff, Dlott, J .
Litkovitz, M.J.
vs.
NBC UNIVERSAL, INC., et al., REPORT AND
Defendants. RECOMMENDATION

Plaintiff Omar Santa-Perez originally filed the pro se complaint in this matter in the
Hamilton County, Ohio Court of Common Pleas on December 22, 2017. (Doc. l, Exh. 2).
Defendants NBC Universal, lnc. and TD Ameritrade Holding Corporation removed the action to
this Court on January 26, 2018. (Id.). Defendants filed motions to dismiss the complaint on
February 1,, 2018 (Doc. 5) and February 2, 2018 (Doc. 7). The Courc sent plaintiff a notice on
each date advising him that a motion to dismiss had been filed and that failure to file a response
to the motion within 21 days from the date of service set forth in the certificate of service attached
to the motion may warrant dismissal of the case under Fed. R. Civ. P. 41 (b) for failure to prosecute
(Docs. 6, 9). The notices Were returned to the Court as undeliverable. (Doc. 1 l).

On March l, 2018, the Court issued an Order to plaintiff to show cause, in writing and
within 15 days of the date of its Order, why the Court should not dismiss this case for lack of
prosecution (Doc. 12). The Order notified plaintiff that failure to comply with the terms of the
Order would result in a recommendation to the District Judge that this action be dismissed
Plaintiff subsequently contacted the Clerk of Court on March 22, 2018 to inquire about the status
of the case, and he informed the Clerk that he would send a notice of change of address. (See

March 22, 2018 docket notation). The Clerk mailed copies of defendants’ motions to dismiss

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(Docs. 5, 7) and the Court’s Order to Show Cause (Doc. 12) to plaintiff on that same date. (Id.).
Plaintiff filed a notice of change of address with the Court on March 26, 2018. (Doc. 13).
Plaintiff has not filed any documents with the Court since that date. Plaintiff has not filed a
response to the motions to dismiss filed on February l and 2, 2018. (Docs. 5, 7). Plaintiff also
has not responded to the Order to Show Cause issued on March l, 2018. (Doc. 12). Nearly three
months have elapsed since defendants filed their motions to dismiss and more than 21 days have
passed since March 22, 2018, the date plaintiff contacted the Clerk and copies of the motions to
dismiss and the Court’s Order to Show Cause were mailed to him.

“Federal courts possess certain ‘inherent powers . . . to manage their own affairs so as to
achieve the orderly and expeditious disposition of cases.”’ Goodyear Tire & Rubber Co. v,
Haeger, g U.S. _, 137 S.Ct. 1178, 1186 (2017) (quoting Link v. Wabash R.R., 370 U.S. 626,
630-631 (1962)). Plaintiff"s failure to respond to defendants’ motions to dismiss and to the 0rder
to Show Cause warrants exercise of the Court’s inherent power and dismissal of this case pursuant
to Fed. R. Civ. P. 41 (b) for failure to prosecute this matter. See Lz`nk, 370 U.S. at 630»31; Jourdan
v. Jabe, 951 F.2d 108, 109-10 (6th Cir. 1991).

IT IS THEREFORE RECOMMENDED THAT:

This case be DISMISSED With prejudice for want of prosecution pursuant to Fed. R. Civ.

P. 41(b).

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Karen L. Litkovitz
United States Magistrate Judge

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

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OMAR SANTA-PEREZ, Case No. l:lS-cv-059
Plaintiff, Dlott, J.

Litkovitz, M.J.
vs

NBC UNIVERSAL, INC., et al.,
Defendants.

NOTICE

Pursuant to Fed. R. Civ. P. 72(b), WITHIN 14 DAYS after being served with a copy of
the recommended disposition, a party may serve and file specific written objections to the
proposed findings and recommendations This period may be extended further by the Court on
timely motion for an extension Such objections shall specify the portions of the Report objected
to and shall be accompanied by a memorandum of.law in support of the objections If the Report
and Recommendation is based in whole or in part upon matters occurring on the record at an oral
hearing, the objecting party shall promptly arrange for the transcription of the record, or such
portions of it as all parties may agree upon, or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs A party may respond to another party's objections
WITHIN 14 DAYS after being served with a copy thereof. Failure to make objections in
accordance with this procedure may forfeit rights on appeal. See Thomas v. Am, 474 U.S. 140

(1985); Um`ted States v. Walters, 638 F.2d 947 (6th Cir. 198]).

